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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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NICK GIOIA, ANTONIETTA ZAPPIER, LEON                                   :
SCULTI, PATRICE THIBODEAU, CASEY FLOWERS, :
and DAN SCHUY, individually and on behalf of others                    :
similarly situated,                                                    :
                                                                       :   Case No.: 22-cv-06710-PMH
                           Plaintiffs,                                 :
                                                                       :
         -against-                                                     :    RULE 7.1 CORPORATE
                                                                       :    DISCLOSURE STATEMENT
PROJECT VERITAS, S2 HR SOLUTIONS 1A, LLC                               :
(d/b/a ENGAGE PEO LLC), TOM O’HARA, and                                :
JAMES O’KEEFE,                                                         :
                                                                       :
                           Defendants.                                 :
-----------------------------------------------------------------------X


         Defendant Project Veritas, by and through its attorneys, Abrams Fensterman LLP, states

pursuant to Rule 7.1 of the Federal Rules of Civil Procedure that it has no parent corporation and

there is no publicly held corporation that holds ten (10) percent or more of its stock.




Dated:       Brooklyn, New York
             November 2, 2022


                                                                      ABRAMS FENSTERMAN, LLP

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                                                                      Project Veritas, Tom O’Hara, and
                                                                      James O’Keefe
